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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL


  Case No. SA CV 20-01531-DOC-JDEx                                 Date: November 17, 2021

  Title: Robert Kelly, et al. v. County of Orange, et al.


  PRESENT:
                     THE HONORABLE DAVID O. CARTER, JUDGE

                Karlen Dubon                                    Not Present
                Courtroom Clerk                                Court Reporter

        ATTORNEYS PRESENT FOR                          ATTORNEYS PRESENT FOR
              PLAINTIFF:                                    DEFENDANT:
             None Present                                    None Present



          PROCEEDINGS (IN CHAMBERS): ORDER TO SHOW CAUSE

         Benjamin Nisenbaum's name has appeared as attorney of record on a document
  filed with this Court. However, a review of our files indicates that Mr. Nisenbaum is not
  a member of the Bar of the Central District of California. A person may only enter an
  appearance in this Court as an attorney of record for another person, an organization, or a
  class only if they are a member of the Bar of this Court or are otherwise authorized to
  practice before this Court. Local Rule 83-2.1.1.1.

        Accordingly, the Court ORDERS Plaintiffs' counsel to appear before this Court
  on December 1, 2021, at 7:30 a.m. to show cause why Mr. Nisenbaum should not be
  terminated from the case. If Mr. Nisenbaum applies for admission to the Bar of the
  Central District of California or terminates himself from the case by November 29, 2021,
  the Court will vacate the hearing.

         The Clerk shall serve this minute order on the parties.
   MINUTES FORM 11
   CIVIL-GEN                                                           Initials of Deputy Clerk: kdu
